 

CaSe:lQ-lOZSG-TB|\/| DOC#ZZ Filed:Ol/l€/J_Q Entei’ed:Ol/l?/J_Q 10213:51 Pagel Of4

Flil in this information to identify the case:

 

United Staies Bani<ruptcy Court for the:
DiST l TOF COL RA t FELED
R C 0 00 win earn S. alameda ana

l fill Jiii€ l bché§k u€¥nsil%§

I:] amended filing

Case number manoran Chapter 7

 

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eis'rmcr or newman

 

Officiai Form 205
involuntary Petition Against a Non-lndividual 12/15

 

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. lt you want to begin a case
against a non-individuai, use the involuntary Petii‘ion Against an individual (Officiai Forrn 105). Be as complete and accurate as possib|e. if more space
is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor‘s name and case number (if known).

m identify the chapter of the eankruptcy code underwhich petition is Filed

1. Chapter of the Bankruptcy Check one:
Code

X Chapter?
l:l Chapfer 11

m identify the Debtor

2. Debtor's name 11380 Smith Rd LLC

 

3. Other names you
know the debtor
has used in the last
8 years

 

include any
assumed names,
trade names, or
doing business as
names

 

 

4. Dabtor's federal Empioyer
identification Number (E|N) XX-XXXXXXX
EiN

s1 111
11380 Srnith Roacl

 
 
 
 

 
  

5. Debtor's address

 

 

 

 

 

 

 

 

 

 

 

 

Number Street Number Slreet
P.O. ch
Aurora, CO 80010
Ciiy State Zip Code City State Zip Code
Location of principal essets. if different from principal
Adams place of business
County
Number Street
Cily State Zip Code

 

6. Debtor's website (URL)

 

 

T. Type of debtor x Corperation (inciuding Limited Liabiiiiy Ccmpany (l.i.C) and i_imiied Liabiiity Parinership (LLP)
[:] Partnership (exc|uding LLP)
l:} Oiher type of debtor. Specify:

 

Oft"lciai Fom‘i 205 involuntary Petition Against a dion-individual page 1
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Debtor 11380 Sni'iih Rd Lt.C Case number nmi-in

 

B. Type of debtor's Ciieck one:
business
l:| i-ieaith Care Business (as defined in 11 U.S.C. § 101(27A)
X Singte Asset Reai Estate (as denned in 11 U.S.C. § 101(518)
[] Railroad (as denned in 11 U.S.C. § 101(44)
[:l Stooitbroker (as defined in 11 U.S.C. § 101(53A)
l:] Commodity Broker (as defined in 11 U.S.C. § 101(6)
ij C|earing Bani-c (as defined in 11 U.S.C. § 781(3)
None of the types of business iisted.
[] Unknown type of business

 

9. To the best of ['_'I No
your knowiedge, X Yes. Debtor 11380 Srnith Rd LLC Relaiionship
are any
bankruptcy CHS€S Disirict Coiorado Daie filed 0211312018 Case number, if known 18-10965 TBM

pending by or
against any MM l DD f YYYY
partner or affiliate

of this debtor?

 

Debtor Reiationship
District Date filed Case number, ifi<novin
MMi' DDI YYY‘(

 

 

 

m Report About the Case ,
10. Venue Clieck one:

Over the last 180 days before the filing of this bankruptcy, the debtor had a domicilel principal place of business, or principal assets
in this district longer than in any other district.
i:] A bankruptcy case concerning debtors affiliates, general partner, or partnership is pending in this district

 

11. Ai|egatlons Each petitioner is eligible to file this petition under 11 U.S.C. § 303(1)).
The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

At least one box must be checked:

§ Tlie debtor is generally not paying its debts as they become due, unless they are in the subject of a bona fide dispute as to liability
or amount.

ij Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or authorized to take
charge of less than substantially ali of the property of the debtor for the purpose of enforcing a lien against such property, was
appointed or took possession

 

12. Has there been a No
transfer of any [:] Yes. Attach ali documents that evidence the transfer and any statements required under Banl<ruptcy Rule 1003(3).
claim against the
debtor by or to
any petitioner?

      
    

13. Each petitioner's claim :’

si ,200,000.00
$

5
Totai of petitioners1 claims | $1,200,000.00 ' l

if more space is needed to list petitioners, attach additional sheets. Write the alleged debtor‘s
name and the case number, if known, at top of each sheet. Foiiowing the format of this form,
set out the information required in Parts 3 and 4 of the form for each statement under penalty
of perjury set out in Part 4 of the form, followed by each additional petitioners for
representative‘s) signature, along with the signature of the petitioner‘s attorney.

 

 

Request for Reiief

WARN|NG -- Bani-cruptcy fraud is a serious crime. Maklng a false statement in connection with a bankruptcy case can result in lines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

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letoi 11380 Sl‘n`ith Rd LLC

petitioners request that an order ior relief be entered against the debtor under the chapter ot lt U.S.
corporation attach the corporate ownership statement required by Bankrupicy mile tOiOibi. 11 any pe
prooeeding. attach a certified copy of the order oi the court granting recognition

in_t,his(do§ume`n

   

flame and mailing address oi petitioner
Mid Arnerica Piastlc Sysiems
Narris

1610 dade Rd

Nirmber Slreei

Coiumbia, MD 85201

City Siaie Zip Code

items and mailing address of petitioner’s representativa, if any

Tlrnothy J. Henzoi
blame

 

Nurnber Streai

 

city stale zip code

t declare under penalty pari that th_e foregoing is true and correct
Executecl on g

MM DD WYY -
m y Frw,l ;>M.>T"

Signature ofp l onar or representative including representatives title

d have a reasonable belief that the inform

Case number prmmi

alien is true and correct

     
 

Duncan E. Barber
Printed name

Shaplro Biogi_ng Barber Ottason. LLP
Firrn name, if any

1979 E. Ti.ifts Averiue, Suite 1600
Numi:rer Street

Denvcr. 00 80237

Cily Siaie

Coniaupiione l720)488~0220 E¢“B||
Bainumber 16?68

Slate Co|orad

________________~\-'__--

 

C. specified in this petition. il a petitioning creditor is a
liiioner is a foreign representative appointed in a foreign

zip code
dbarber@sbbolaw.comk_

 

Signature of attorney
Dale signed

 

MMIDDFYYYY

 

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So‘iaare Oo;nrigl'i tci 1996-zola ties'lCeso, LLC ~v~w»vboslsase ocn\

involuntary Pei'i\ion Againsi a lion-individual

page 3

 

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Debtor 11380 Smiih Rd LLC

Case number prmmi

 

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. if a petitioning creditor is a
corporation attach the corporate ownership statement required by Banitruptcy Ruie 1010(b). if any petitioner is a foreign representative appointed in a foreign

proceeding, attach a certified copy of the order of the court granting recognition

 
  

   

t have arranging j

..£~ v

Name and mailing address of petitioner
Mid America Piastic Systems
Name

1510 dade Rd

Number Street

Coiumbia, NlO 65201

City State Zip Code

Name and mailing address of petitioner's representative, if any

Timothy J. Henzei
Name

 

Numbor Street

 

Clty State Zip Code

i declare under penalty of perjury that the foregoing is true and correct
Executed on
NlNl l DD l YYYY

 

Signature of petitioner or representative, including representatives title

t and have a reasonable belief that the

   
 

fm i.° `§' <1§9

     
    
 

Duncan E. Barber
Printed name

Shapiro Bieging Barber Otteson, LLP

Firm name, if any

7979 E. Tufts Avenue, Suite 1600

Number Street

Denver, CO 80237

City State Zip Code

Contactpho_ne §7201488-0220 Emaii dbarber@sbboiaw.com
Barnumber 16?68

Colorad

f;otr\c§§ .

State

 

`“"';S'iginature of attorney

Date signed 53 t *“ § §»-- 19 § q

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